












Dismissed and Memorandum Opinion filed August 16, 2011.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-11-00670-CR

____________

&nbsp;

DWIGHT CONRAD BENNETT, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 337th District Court


Harris County, Texas

Trial Court Cause No. 1261375

&nbsp;



&nbsp;

MEMORANDUM
&nbsp;OPINION

Appellant entered a guilty plea to aggravated assault of a
family member.&nbsp; In accordance with the terms of a plea bargain agreement with
the State, the trial court sentenced appellant on March 17, 2011, to
confinement for ten years in the Institutional Division of the Texas Department
of Criminal Justice.&nbsp; Appellant filed a pro se notice of appeal on July 25,
2011.&nbsp; We dismiss the appeal. 

A defendant’s notice of appeal must be filed within thirty
days after sentence is imposed when the defendant has not filed a motion for
new trial.&nbsp; See Tex. R. App. P. 26.2(a)(1).&nbsp;
A notice of appeal which complies with the requirements of Rule 26 is essential
to vest the court of appeals with jurisdiction.&nbsp; Slaton v. State, 981
S.W.2d 208, 210 (Tex. Crim. App. 1998).&nbsp; If an appeal is not timely perfected,
a court of appeals does not obtain jurisdiction to address the merits of the
appeal.&nbsp; Under those circumstances it can take no action other than to dismiss
the appeal.&nbsp; Id.

In addition, the trial court entered a certification of the
defendant’s right to appeal in which the court certified that this is a plea
bargain case, and the defendant has no right of appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court’s certification is included
in the record on appeal.&nbsp; See Tex.
R. App. P. 25.2(d).&nbsp; The record
supports the trial court’s certification.&nbsp; See Dears v. State, 154
S.W.3d 610, 615 (Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Frost, Seymore, and Jamison.

Do Not Publish — Tex. R. App. P. 47.2(b).





